ATTACHMENT 1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
RICHARD A. JOHNSON, and )
C. DALE ALLEN, TRUSTEES, )
)
Plaintiff, )
)
v. ) Case No. 3:11-cv-866
)
PRUDENTIAL INSURANCE COMPANY ) Judge Haynes
OF AMERICA, INC., ) '
)
Defendant. )

SECOND AMENDED COMPLAINT
The Parties. Venue and Jurisdiction

l. Plaintiff, Richard A. Johnson, Trustee [“Mr. Johnson”] is a citizen and resident of
Davidson County, Tennessee.

2. Plaintiff, C. Dale Allen [“Mr. Allen”], is a citizen and resident of Davidson County,
Tennessee.

3. Mr. Johnson and Mr. Allen [“the Trustees”] bring this suit in their capacity as co-
trustees under an irrevocable Trust Agreement dated October l7, 1996 for the Gary D. Sasser
lrrevocable Trust [“The Trust”].

4. The Trustees bring this suit for the benefit of the Trust.

5. Defendant, the Prudential lnsurance Company of America, Inc. [“Prudential”], is a
corporation organized and existing under the laws of New Jersey.

6. Prudential conducts substantial business on a continuing basis in Davidson County,

Tennessee. lt also maintains offices in Davidson County, Tennessee.

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7. A substantial part of the events giving rise to the claim of The Trustees occurred in
this district. Further, the Personal Representative is subject to personal jurisdiction before this Court.
Therefore, venue is proper in this Court pursuant to 28 U.S.C. §1391.

8. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § l332(a) because
there is diversity of citizenship and the amount in controversy exceeds $75,000.

The Issuance of the Original Policy

9. On September 14, 2000, Prudential issued an insurance policy on the life of Gary D.
Sasser [Policy #B4 048 620][“the Policy”].

10. A true and correct copy of the Policy is attached as Exhibit 1.

ll. The insured under the Policy was Mr. Gary D. Sasser [“Mr. Sasser”]

l2. The Policy was a term life insurance policy.

l3. The term of the Policy was 20 years.

l4. The face amount of the Policy was $30,000,000.

15. Mr. Johnson, as Trustee under the irrevocable Trust Agreement dated October l7,
1996, or the successor in Trust was the owner and beneficiary of the Policy.

l6. The Policy constituted a contract between Prudential, on the one hand, and the
Trustees and the Trust, on the other hand.

l7. In 1999, Mr. Johnson instructed Mr. Steve Jackson [“Jackson”] of American
Brokerage to search for a policy which would insure the life of Mr. Sasser with a policy which had
the best possible underwriting classification without being “rated.”

18. Prudential then informed the Trustees through its agents, Jackson and/ or Roy DePue

[“Depue”], that Mr. Sasser qualified for “preferred” rates.

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l9. Prudential informed the Trustees through Mr. Jackson that it would issue a policy
which was not rated and which had a “preferred” underwriting classification

20. Mr. Johnson reasonably believed that “preferred” was better than other underwriting
classifications which Prudential offered, and certainly better than a standard rating. So, the Trustees
instructed Mr. Jackson to purchase a policy from Prudential with the “preferred” underwriting
classification

2l . Prudential’ s representation that Mr. Sasser qualified for the “preferred” rating and its
agreement to issue a policy with that rating were critical factors in the Trustees’ decision to purchase
a policy from Prudential. The Trustees relied on that representation Absent that representation The
Trustees would have instructed Messrs. Jackson and Depue to search for policies with more
favorable terms, premiums, or both.

22. On September l4, 2000, the Trustees purchased the Policy from Prudential.

23. Consistent with the representation which Prudential had made through Mr. Jackson,
the Policy was cleaer marked as having a "Prel"erred” underwriting classification

24. Unbel<nownst to the 'l`rustees, there was no *'preferrec " ratingl Rather, the ratings

ll ff

were “Select preferred non-select preferred ” and “standard.”

25. Further, Prudential had actualiv rated the Policy as ‘“nor.'-sefec! preferred " and had
concealed this from the Trustees by wilit`ullv and intentionally marking the Policy as “Preferred”
instead of “non-select Preferred.”

26. Prudential’s representation that the Policy had a “Pref`erred” underwriting

classification was false.

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27. The Trustees did not discover that this representation of Prudential’s was false until
their lawyer reviewed e-mails which Prudential has produced in this lawsuit. See, e-mails attached
as Exhibit 2.

28. The Policy was ambiguous This is because (l) the Policy was marked as having been
issued with a “Preferred” underwriting classification and that classification did not exist; and (2) the
Policy did not indicate whether the reference to “Preferred” was intended as a reference to the “Select
Preferred” classification or to the “Non-Select” Preferred classification

29. As a matter of law, this ambiguity in the Policy must be construed against Prudential.

The Conversion of the Policv
30. At pages lO-l l, the Policy provided for conversion to another plan of insurance. In
pertinent part, the Policy provided as follows:
Contract
Specifications The new contract will be in the same rating class as
this contract. We will set the issue age and the
premiums for the new contract in accordance with our
regular rules in use on its contract date.

(Underlining and italics supplied).

3 l . Thus, Prudential was obligated, upon request from the Trustees, to convert the Policy
to a policy in the same rating class.

32. At the time the Trustees purchased the policy, they were aware of these provisions
which allowed the policy to be converted to another policy of the same rating class.

33. At the time the Trustees purchased the policy, there was a substantial likelihood that

they would elect to convert the Policy to a Universal Life Policy of the same rating class.

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34. On November 17, 2005, Prudential agreed in writing to extend through December 2,
2005 the period during which the Trustees could elect to convert the Policy. [Email, Exhibit 3]

3 5. On or about November l l, 2005, Prudential prepared an illustration of premiums and
other data for a converted policy. [Exhibit 4]. Mr. Johnson received that illustration and then sent

it to Mr. Tom Duncan for review.

36. Mr. Tom Duncan is a financial advisor to Mr. Sasser.

37. The illustration was labeled as being for a policy with a “Non-Smoker” underwriting
classification

38. Mr. Sasser was and still is a nonsmoker.

39. Mr. Duncan reviewed the illustration and noticed two matters in particular. First, the

annual premiums ($467,339) appeared to be consistent with premiums charged by other companies
for similar policies with “standard” classifications Second, the premiums shown in the illustration
were substantially in excess of premiums charged by other companies for similar policies with
“preferred” ratings

40. Mr. Duncan promptly notified Mr. Johnson of these matters.

4l. Mr. Johnson then requested that Prudential supply an illustration for a comparable
converted policy which had a “preferred” rating.

42. Prudential responded by supplying an illustration for a comparable policy with a
“preferred non-smoker” rating. [Exhibit 5].

43. Mr. Johnson compared the two illustrations and observed that the premiums for the

policy with the “preferred non-smoker” rating were only $385,282.

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44. On November 22, 2005, Prudential sent a letter to Mr. Johnson [Exhibit 6] In
pertinent part, the letter stated as follows:

The purpose of this note is to summarize the process Prudential uses to determine the

rating class when a term policy is converted to a new contract under the conversion

privilege in the term contract. The rating classification of the new plan will be the

same rating classification as the term coverage being converted if the same rating

classification is available. If the new policy requested does not offer the same rating

classification, the new policy will be in the rating class that is equivalent to that of
the existing term policy.

In 2000, when Term Plus Policy B4048620 was issued, the rating classifications
available were Select Preferred, Preferred and Standard, where Select Preferred as the
best available classification offered. In the case of Mr. Sasser’s policy, he received
our Preferred Classification, which was our rating classification for nonsmokers who
did not qualify for the Select Preferred Classification For contractual conversions
from a Term Pltls contract the rating classifications today which are equivalent to
Select Preferred. Preferred and Standard are Preferred Nonsmoker. Nonsmoker and
Smoker, respectively Our current rating classification for nonsmokers who did not
qualify for a Select Preferred rating is Nonsmoker. To be considered for the better
rating classification than Nonsmoker (which is the contractually guaranteed rating
classification), Mr. Sasser would need to go through appropriate underwriting . . .

[Complaint, 11 30] (Underlining and italics supplied).

45, This letter was incorrect, false or both in at least two respects First, the letter falsely
represented that the underwriting classifications which had existed when Prudential issued the Policy
were Select Preferred, Preferred and Standard. In truth and in fact, there had never been a
“Preferrecl” classification There had only been “Select Preferred” and “NOn-Select Preferred.”

Second, the plain language of the Policy which Prudential drafted did not permit Prudential
to issue a converted policy based on an equivalent rating class Rather, that plain language required
Prudential to issue a converted policy having the same rating class The same rating class was not

the purportedly equivalent rating class of “nonsmoker.”

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46. Upon information and belief, the Trustees allege that Prudential has since modified
its policies to state expressly that Prudential may convert to an “equivalent” classification The very
fact that Prudential found it necessary so to modify its policies is an implicit admission that the earlier
versions of the policy, such as was sold to the Trustees, did not allow conversion to an “equivalent”
class

47. Unaware of the ruse which Prudential was perpetrating on them, the Trustees sent a
letter to Prudential on November 29, 2005. [Exhibit 7] In that letter, they attempted to convert the
Policy to a UL Protector Policy. Because the Policy allowed conversion to a new policy of the same
underwriting classification, not an equivalent classification, the demanded they demanded that
Prudential convert the Policy to a UL Protector Policy with the “Preferred Non-Smoker” rating. ln
pertinent part, the letter stated as follows:

. . . l hereby elect to convert this policy to a PruLife UL Protector Life Insurance

Policy, insured by Gary Sasser, insurance amount $30,000,000, Type A (Fixed) Death

Benefit. Pursuant to the terms of the Term Policy Prudential Financial is required to

convert this policy to a new contract “in the same rating class” as the Term Policy.

The Term Policy’s rating class is “Preferred.” Accordingly, we demand a conversion

to the current underwriting classification of “Preferred Non-Smoker.” By the express

terms of the Term Policy, this is the “same rating class.” The Term Policy does not

authorize conversion to “an equivalent rating class” as permitted by some of your

company’s contractual policy language contained in later issued policies

48. At the conclusion of the letter, Trustees tendered a check in the amount of $3 85 ,282.00
for the first annual premium on the converted policy.

49. On December 6, 2005, Prudential sent a letter to Trustees. [Exhibit 8] In that letter,
Prudential refused to convert the Policy to a new policy with a “Preferred Non-Smoker” rating.

50. On February l6, 2006, Trustees sent another letter to Prudential. [Exhibit 9] In

pertinent part, the letter stated as follows:

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In accordance with your letter dated November 6, 2005, and our letter dated December

19, 2005, the Trust elects to convert the Term Policy and we are enclosing the

Application for Life Insurance or Policy Change to convert the Term Policy. By

converting this policy under the terms of your letter dated November 6, 2005, and

received by us in early December 2005, we, as Trustees of the Gary D. Sasser
lrrevocable Trust, expresslv reserve all legal rights available to it as set forth in our

letter dated November 29. 2005.

(emphasis supplied).

51. Thus, the Trustees converted the Policy to a PruLife UL Protector Policy with rating
classification of nonsmoker and level premium to the age of 82 [“the Converted Policy”]. They
expressly reserved their right to have the Policv converted to a PruLife UL Protector with the same
rating class as the Policy.

52. Prudential then converted the Policy by issuing a PruLife UL Protector Policy with
rating classification of nonsmoker and level premium to the age of 82, but with a “Nonsmoker” rating
class

53. Thus, Prudential has failed and refused to honor its contractual obligation to convert
the Policy to a new policy having the same rating class

54. The Policy was ambiguous This is because (l) the Policy was marked as having been
issued with a “Preferred” underwriting classification and that classification did not exist; and (2) the
Policy did not indicate whether the reference to “Preferred” was intended as a reference to the “Select
Preferred” classification or to the “Non-Select" Preferred classification

55. Because that ambiguity must be construed against Prudential, it was required to
convert the Policy to a new policy with a "Select Preferred” underwriting classification

56. Alternatively, Prudential was required to convert the Policy to a new policy which had

an underwriting classification that was equivalent to “Select Preferred ” Because Prudential alleges

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that the “Preferred Non Smoker” classification is equivalent to “Select Preferrea’, " it was, at the very
least, obligated to convert the Policy to a new policy with a “Preferred Non Smoker” underwriting
classification.”

57. The premiums which the Trustees must pay for the Converted Policy ( PruLife UL
Protector policy with rating classification of Nonsmoker ) are much greater than the premiums which
they would be required to pay for such a policy with the Preferred Nonsmoker rating classification

5 8. As stated in this complaint, Prudential has breached the contract which it had with the
Trustees and the Trust.

59. Prudential’s breach of contract has proximately caused great damage to the Trustees
and the Trust.

60. Prudential owed to the Trustees and to the Trust a duty of good faith and fair dealing.

61. As stated in this Complaint, Prudential has breached the obligation of good faith and
fair dealing which it owed to the Trustees and to the Trust.

62. Prudential’s breach of its obligation of good faith and fair dealing has proximately
caused great damage to the Trustees and to the Trust.

63 . The Trustees have paid all premiums for the Converted Policy as those premiums have
become due. They will continue to do so.

PREMISES CONSIDERED, the Trustees Demand:
l. That they have judgment for the benefit of the Trust against Prudential for
compensatory damages and prejudgment interest pursuant to T.C.A. §47-14-123.
2. That the Court reform the Contract between the parties so that the premiums which

must be paid for the Converted Policy are reduced to the amount which the Trustees

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would be required to pay if the rating classification for the Converted Policy had been
Select Preferred.

3. ln the alternative, that the Court reform the Contract between the parties so that the
premiums which must be paid for the Converted Policy are reduced to the amount
which the Trustees would be required to pay if the rating classification for the
Converted Policy had been Preferred Non-Smoker, rather than Nonsmoker.

4. That all costs, including discretionary costs, be taxed to Prudential.

5. That they have such other and further relief as this Court deems just and proper.

Respectfully submitted,

s/ Winston S. Evans

Winston S. Evans (#6281)

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Attorney for Plaintijjfs‘, Richara' A. Johnson
and C. Dale Allen, Trustees

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing SECOND AMENDED
COMPLAINT has been served via the Court’s Electronic Filing System upon:

Thomas K. Potter, III

J ames A. Haltom

BURR & FORMAN LLP

700 Two American Center

3102 West End Ave.

Nashville, TN 37203

this __ day of 12012.

s/ Winston S. Evans

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